 ~AO 245B     (Rev. 12/03) Judgment in a Criminal Case
    NCED      Sheet I



                                          UNITED STATES DISTRICT COURT
                         Eastern                                     District of                               North Carolina
           UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                                 V.
            ROY CECIL RHODES, JR.                                            Case Number: 4:09-CR-64-3F

                                                                             USM Number:51757-056

                                                                             Walter H. Paramore, III
                                                                             Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)          1 and 3 (Indictment)

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                 Nature of Offense                                                   Offense Ended
21 U.S.C. § 846                                  Conspiracy to Distribute and Possess With the Intent to             6/3/2009
                                                 Distribute More Than 50 Grams of Cocaine Base (Crack)

21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2          Distribution of 5 Grams or More of Cocaine Base (Crack) and         6/3/2009            3
                                                 Aiding and Abetting


       The defendant is sentenced as provided in pages 2 through             _ _7_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)                                                           D are dismissed on the motion of the United States.
                  ------------ Dis
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economIc circumstances.

 Sentencing Location:                                                        4/27/2010
   Wilmington, NC                                                            Date of Imposition of Judgment


                                                                                ~(?t
                                                                             s(1ture of Judge




                                                                              JAMES C. FOX, SENIOR U.S. DISTRICT JUDGE
                                                                             Name and Title of Judge


                                                                             4/27/2010
                                                                             Date




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AD 245B       (Rev. 12/03) Judgment in Criminal Case
   NeED       Sheet 2 - Imprisonment

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                                                                    IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

 COUNT 1 -169 MONTHS
 COU NT 3 - 169 MONTHS TO RUN CONCURRENTLY WITH COUNT 1


  tJ The court makes the following recommendations to the Bureau of Prisons:
 The court recommends that the defendant participate in the most Intensive Drug Treatment Program, a vocational
 training program during the term of incarcaration and be incarcarated at Fel Butner.



  i1 The defendant is remanded to the custody of the United States Marshal.
   D      The defendant shall surrender to the United States Marshal for this district:

          D     at    _________ D                        a.m.        D p.m.    on

          D     as notified by the United States Marshal.

   D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          DO before          p.rn. on
          CII] as notified by the United States Marshal.        I     Or

          D     as notified by the Probation or Pretrial Services Office.



                                                                       RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                            to

a'-                                                    , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                              By                   --=        .......- --=,..--., ----­
                                                                                                   DEPUTY UNITED STATES MARSHAL




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AD 2458       (Rev. 12/03) Judgment in a Criminal Case
       NCED   Sheet 3 - Supervised Release
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DEFENDANT: ROY CECIL RHODES, JR.
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
   COUNT 1 ·5 YEARS; COUNT 3 ·5 YEARS, BOTH SUCH TERMS TO RUN CONCURRENTLY
     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk offuture
I::J     substance abuse.
~        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

~        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

I::J     The defendant shall register with the state sex offender registration agency in the state where the defendant resides; works, or is a
         student, as directed by the probation officer. (Check, if applicable.)

D    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sl'ieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                               STANDARD CONDITIONS OF SUPERVISION
 1.      The defendant shall not leave the judicial district or other specified geographic area without the permission of the court or probation
         officer.                                           .
2.       The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
         complete written report within the first five (5) days of each month.
3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
4.       The defendant shall support the defendant's dependents and meet other family responsibilities.
 5.      The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
         acceptable reasons.
6.       The defendant shall notify the probation officer at least then (10) days prior to any change of residence or employment.
7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possessbuse distribute, or administer any controlled
         substance, or any paraphernalia related to any controlled substance, except as prescribed y a physician.
 8.      The defendant shall not frequent places where controlled substances are illegally sold, used distributed, or administered, or other
         places specified by the court.
9.       The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of
         a felony unless granted permission to do so by the probation officer.
 10. The defendant shall permit a probation officer to visit the defendant at any time at home or elsewhere and shall permit confiscation of
     any contraband observed in plain view by the probation officer.
 11. The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
     officer.
 12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
     permission of the court.
 13. As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
     criminal record or personal history or characteristics, and shan permIt the probation officer to make such notifications and to confirm
     the defendant's compliance with such notification requirement.




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  NeED    Sheet 3A - Supervised Release
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DEFENDANT: ROY CECIL RHODES, JR.
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                                    ADDITIONAL SUPERVISED RELEASE TERMS
 The defendant shall provide the probation office with access to any requested financial information.

 The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
 office.

 The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic
 addiction, drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures
 and may require residence or participation in a residential treatment facility.

 The defendant shall consent to a warrantless search by a United States probation officer or, at the request of the probation
 officer, any other law enforcement officer, of the defendant's person and premises, including any vehicle, to determine
 compliance with the conditions of this judgment.

 The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 The defendant shall participate in a vocational training program as directed by the probation office.




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DEFENDANT: ROY CECIL RHODES, JR.
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                                                   CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                      Fine                                 Restitution
TOTALS             $ 200.00                                        $ 8,100.00                         $


[J   The determination of restitution is deferred until            An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximatel)' proportioned payment, unless specified otherwise in
     the prioriI)' order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal victims must be paid
     before the United States is paId.

Name of Payee                                                         Total Loss·          Restitution Ordered      Priority or Percentage




                                  TOTo...=A=L=.S               _                  $0.00                    $0.00


01] Restitution amount ordered pursuant to plea agreement $
01] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

ij    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     iJ the interest requirement is waived for the i1 fine 0 restitution.
      o the interest requirement for the o fine 0 restitution is modified as follows:

• Findings for the total amount oflosses are required under Chapters 109A, 110, II OA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.



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AD 245B     (Rev. 12/03) Judgment in a Criminal Case
    NCED    Sheet 6 - Schedule of Payments

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                                                           SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A      D    Lump sum payment of $                                due immediately, balance due

            D     not later than                                     , or
            [J    in accordance           D    C,      D    D,   D     E, or    D F below; or

B      D    Payment to begin immediately (may be combined with                 DC,     D D, or    D F below); or

C      D    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D      D    Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                          (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E      D    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F      riI Special instructions regarding the payment of criminal monetary penalties:
            The special assessment imposed shall be due in full immediately.

            The fine imposed shall be due immediately and the interest is waived.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




[J     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




D      The defendant shall pay the cost of prosecution.

D      The defendant shall pay the following court cost(s):

D      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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AO 245B    (Rev. 12/03) Judgment in a Criminal Case
  NeED     Sheet 7 - Denial of Federal Benefits

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DEFENDANT: ROY CECIL RHODES, JR.
CASE NUMBER: 4:09-CR-64-3F
                                                      DENIAL OF FEDERAL BENEFITS
                                        (For Offenses Committed On or After November 18, 1988)

FOR DRUG TRA FFICKERS PURSUANT TO 21 U.S.C. § 862

      IT IS ORDERED that the defendant shall be:

IilJ' ineligible for all federal benefits for a period of      5 YEARS

D    ineligible for the following federal benefits for a period of
     (specify benefit(s))




                                                                        OR
D    Having determined that this is the defendant's third or subsequent conviction for distribution of controlled substances, IT IS
     ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

     IT IS ORDERED that the defendant shall:

D    be ineligible for all federal benefits for a period of


D    be ineligible for the following federal benefits for a period of

     (specifv benefit(s))




     D     successfully complete a drug testing and treatment program.

     D     perform community service, as specified in the probation and supervised release portion of this judgment.

     D     Having determined that this is the defendant's second or subsequent conviction for possession of a controlled substance, IT
           IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
           judgment as a requirement for the reinstatement of eligibility for federal benefits.



          Pursuant to 21 U.S.c. § 862(d), this denial offederal benefits does not include any retirement, welfare, Social Security, health,
disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are required
for eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to:


                              U.S. Depa rtment of Justice, Office of Justice Programs, Washington, DC 20531




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